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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

  ____________________________________
                                      :
  PLAINTIFFS, MICHELLE L. COLE,       :
  and ANDREA SCARLETT, on behalf      :
  of themselves and all others similarly
                                      :
  situated,                           :                           C.A. No. 0:17cv62461
                                      :
                    Plaintiffs,       :
                                      :
         v.                           :
                                      :
  PATRIOT NATIONAL, INC. and          :
  GUARANTEE INSURANCE CO.,            :
                                      :
                    Defendants.       :
  ____________________________________:

                           CLASS ACTION COMPLAINT
               FOR VIOLATION OF THE WARN ACT, 29 U.S.C. § 2101, et seq.

         Plaintiffs, Michelle L. Cole and Andrea Scarlett (“Class Plaintiffs”), individually and as

  class representatives for all similarly situated individuals, by and through their undersigned

  counsel, bring this Complaint and make the following allegations, in accordance with the

  numbered paragraphs set forth below:

                                    NATURE OF THE ACTION

         1.      Class Plaintiffs bring this action on behalf of themselves, and other similarly-

  situated former employees who worked for defendant Patriot National, Inc. (“Patriot National”)

  and were terminated without cause, as part of, the mass reduction in force or layoffs and who

  were not provided 60 days advance written notice of their terminations, as required by the

  Worker Adjustment and Retraining Notification Act (“WARN Act”), 29 U.S.C. § 2101 et seq.




                                                     1

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         2.      Patriot National and defendant Guarantee Insurance Co. (“Guarantee”) were both

  controlled by Steve Mariano (“Mariano”). In 2016 and 2017, Mariano was the alleged recipient

  of $15.7 million in transfers from Guarantee that had no documented business purpose and no

  discernible benefit to Guarantee.

         3.      In March 2017, Patriot National reportedly provided Guarantee, its largest

  customer, with $30 million in exchange for a 10-year services contract.

         4.      Thereafter, Guarantee agreed to enter into state-supervised receivership after a

  financial audit found the company overstated its level of capitalization in 2016. In August 2017,

  Guarantee entered into a consent order barring it from writing new business while implementing

  a plan of reorganization. On November 27, 2017, Guarantee was ordered liquidated by the

  Second Judicial Circuit Court in Leon County, Florida.

         5.      On or about November 28, 2017, The New York Stock Exchange (“NYSE”)

  commenced proceedings to delist the common stock of Patriot National from the NYSE.

  Trading in Patriot National’s common stock was suspended immediately. As noted above,

  Defendants were both controlled by Mariano and Mariano remains the largest shareholder of the

  two companies.

         6.      At all relevant times hereto, Patriot National has operated as a “single employer”

  together and with Guarantee under the WARN Act, and continued as such up to and including

  the date upon which the Patriot National employees were abruptly and permanently terminated

  on November 24, 2017.        Specifically, Patriot National and Guarantee constituted a single

  employer of the Plaintiffs and the other similarly situated former employees under the WARN

  Act in that, among other things: they shared common ownership and common officers and

  directors; Guarantee exercised de facto control over the labor practices and personnel policies

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  and decisions governing the Plaintiffs and Class Members, including the decision to order the

  mass layoff at the Facility; and there was a dependency of operations between Patriot National

  and Guarantee.

           7.       Furthermore, at all relevant times hereto, Defendants maintained direct

  responsibility for Patriot National’s strategic, financial, human resources, and benefits functions

  by, among other things, exercising control over Patriot National’s business plans (including those

  concerning the day-to-day operation of the business). Defendants evaded their obligations under

  the Worker Adjustment and Retraining Notification Act, 29 U.S.C. §§ 2101 et seq. (the “WARN

  Act”), the Employee Retirement Income Security Act, 29 U.S.C. §§ 1001, et seq. (“ERISA”);

  and relevant state wage payment laws. As such, Patriot National and Guarantee operated as a

  single employer1 for these purposes and are hereafter collectively referred to as “Defendants.”

           8.       Defendants violated the WARN Act by knowingly failing to give Plaintiffs and

  other persons similarly situated, who are members of the class Plaintiffs seek to represent, at

  least 60 days prior notice of termination of their employment as required by that statute. As a

  consequence, Plaintiffs and the other similarly situated individuals are entitled to recover from

  Defendants, under the WARN Act, their wages and other employee benefits for 60 working days

  following the termination of their employment, which wages and benefits have not been paid.

           9.       Class Plaintiffs and all similarly-situated employees seek to recover 60 days

  wages, benefits and all other statutory remedies under the WARN Act from Defendants because

  they were not given at least 60 days advance notice of termination as required by the WARN

  Act.



  1
   “Single employer” is the test enunciated under the WARN Act for joint liability. For ERISA and the various state
  wage payment laws, a similar analysis for joint liability is sometimes referred to a “joint employer.” Both tests are
  considered easier to satisfy than the alter ego/veil piercing test.
                                                            3

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                                   JURISDICTION AND VENUE

         10.     This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 1331, 1334

  and 1367 and 29 U.S.C. § 2104(a)(5).

         11.     This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), (B) and (O).

         12.     Venue is proper in this District pursuant to 29 U.S.C. § 2104(a)(5).

                                            THE PARTIES

         13.     Defendant, Patriot National, Inc., is a Florida corporation with its principal place

  of business located at 401 E. Las Olas Boulevard, Suite 1650, Ft. Lauderdale, Florida 33301.

         14.     Defendant Patriot National is a national insurance technology firm which provides

  general agency services, technology outsourcing, software solutions, specialty underwriting and

  policyholder services, claims administration services and self-funded health plans to its insurance

  carrier and other clients. Upon information and belief, Defendant operates a facility located at

  401 E. Las Olas Boulevard, Suite 1650, Ft. Lauderdale, Florida 33301 (the “Facility”), where

  Defendant employed approximately 300 employees, including Class Plaintiffs.

         15.     Defendant Guarantee Insurance Co. is a workers compensation provider closely

  related to Patriot National, and which reportedly accounted for approximately one-third of

  Patriot National’s business. Guarantee has a principal place of business located at 401 E. Las

  Olas Boulevard, Suite 1650, Ft. Lauderdale, Florida 33301.

         16.     Class Plaintiff, Michelle L. Cole, was employed by Defendant Patriot National as

  an Audit Billing Specialist and worked at or received assignments from the Facility, until her

  termination on November 24, 2017.




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         17.     Class Plaintiff, Andrea Scarlett, was employed by Defendant Patriot National as

  an Assistant Controller and worked at or received assignments from the Facility, until her

  termination on November 24, 2017

         18.     Like Class Plaintiffs, until on or about November 24, 2017, all employees

  similarly situated to Class Plaintiffs were employed by Defendant Patriot National and worked at

  or reported to the Facility. On or about November 24, 2017, Defendants laid off approximately

  250 of its 300 employees, including Class Plaintiffs. The terminated workers are based both in

  Fort Lauderdale and in divisions outside of Defendant’s headquarters.

                                   WARN ACT ALLEGATIONS

         19.     Class Plaintiffs bring this Adversary Complaint for violation of 29 U.S.C. §2101

  et seq., on behalf of themselves and on behalf of all other similarly-situated former employees,

  pursuant to 29 U.S.C. § 2104(a)(5) and Federal Rules of Civil Procedure, Rule 23(a), who

  worked at or reported to the Facility and were terminated without cause by Defendant, or were

  terminated without cause as the reasonably foreseeable consequence of the mass layoffs and/or

  plant closings ordered by Defendants, and who are affected employees, within the meaning of 29

  U.S.C. § 2101(a)(5) (the “WARN Class”).

         20.     The persons in the WARN Class identified above (“WARN Class Members”) are

  so numerous that joinder of all members is impracticable. Upon information and belief, the

  Plaintiffs believe that the Class consists of 250 employees. Although the precise number of such

  persons is unknown, the facts on which the calculation of that number can be based are presently

  within the sole control of Defendants.




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           21.     On information and belief, the identity of the members of the class and the recent

  residential address of each of the WARN Class Members is contained in the books and records

  of Defendants.

           22.     On information and belief, the rate of pay and benefits that were being paid by

  Defendants to each WARN Class Member at the time of his/her termination is contained in the

  books and records of Defendants.

           23.     Common questions of law and fact exist as to members of the WARN Class,

  including, but not limited to, the following:

                   (a) whether the members of the WARN Class were employees of the Defendants

                      who worked at or reported to the Plant;

                   (b) whether Defendants unlawfully terminated the employment of the members of

                      the WARN Class without cause on their part and without giving them 60 days

                      advance written notice in violation of the WARN Act; and

                   (c) whether Defendants unlawfully failed to pay the WARN Class Members 60

                      days wages and benefits as required by the WARN Act.

           24.     Class Plaintiffs’ claims are typical of those of the WARN Class. Class Plaintiffs,

  like other WARN Class members, worked at or reported to the Facility and were terminated on

  or about November 24, 2017, without cause on as part of the Defendants mass layoffs ordered by

  Defendants.

           25.     Class Plaintiffs will fairly and adequately protect the interests of the WARN

  Class.    Class Plaintiffs have retained counsel competent and experienced in complex class

  actions, including the WARN Act and employment litigation.




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          26.     On or about November 24, 2017, Defendants terminated the employment of Class

  Plaintiffs and all others similarly situated, as part of a mass layoff or a plant closing as defined

  by 29 U.S.C. § 2101(a)(2), (3), for which they were entitled to receive 60 days advance written

  notice under the WARN Act.

          27.     Class certification of these claims is appropriate under Fed. R. Bankr. P. 7023

  which incorporates by reference Fed. R. Civ. P. 23(b)(3) because questions of law and fact

  common to the WARN Class predominate over any questions affecting only individual members

  of the WARN Class, and because a class action is superior to other available methods for the fair

  and efficient adjudication of this litigation — particularly in the context of WARN Act litigation,

  where individual plaintiffs may lack the financial resources to vigorously prosecute a lawsuit in

  federal court against a corporate defendant, and damages suffered by individual WARN Class

  members are small compared to the expense and burden of individual prosecution of this

  litigation.

          28.     Concentrating all the potential litigation concerning the WARN Act rights of the

  members of the Class in this Court will obviate the need for unduly duplicative litigation that

  might result in inconsistent judgments, will conserve the judicial resources and the resources of

  the parties and is the most efficient means of resolving the WARN Act rights of all the members

  of the Class.

          29.     Class Plaintiffs intend to send notice to all members of the WARN Class to the

  extent required by Rule 23.




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                                          CLAIM FOR RELIEF

                         Violation of the WARN Act, 29 U.S.C. § 2101 et seq.

         30.       Class Plaintiffs reallege and incorporate by reference all allegations in all

  preceding paragraphs.

         31.       At all relevant times, Defendants employed more than 100 employees who in the

  aggregate worked at least 4,000 hours per week, exclusive of hours of overtime, within the

  United States.

         32.       At all relevant times, Defendants were an “employer,” as that term is defined in

  29 U.S.C. § 2101 (a)(1) and 20 C.F.R. § 639(a), and continued to operate as a business until it

  decided to order mass layoffs at the Facility.

         33.       On or about November 22, 2017, Defendants ordered and arranged for mass

  layoffs and/or a plant closing at the Plant, as those terms are defined by 29 U.S.C. § 2101(a)(2).

         34.       The mass layoffs or plant closing at the Plant resulted in “employment losses,” as

  that term is defined by 29 U.S.C. §2101(a)(2) for at least fifty of Defendants employees as well

  as thirty-three percent (33%) of Defendants workforce at the Facility, excluding “part-time

  employees,” as that term is defined by 29 U.S.C. § 2101(a)(8).

         35.       Class Plaintiffs and the WARN Class members were terminated by Defendants

  without cause on their part, as part of or as the reasonably foreseeable consequence of the mass

  layoffs or plant closing ordered by Defendants at the Facility.

         36.       Class Plaintiffs and the WARN Class members are “affected employees” of

  Defendants, within the meaning of 29 U.S.C. § 2101(a)(5).

         37.       Defendants were required by the WARN Act to give Class Plaintiffs and the

  WARN Class members at least 60 days advance written notice of their terminations.

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         38.      Defendants failed to give Class Plaintiffs and the WARN Class members written

  notice that complied with the requirements of the WARN Act.

         39.      Class Plaintiffs, and each of the WARN Class members, are “aggrieved

  employees” of the Defendants as that term is defined in 29 U.S.C. § 2104 (a)(7).

         40.      Defendants failed to pay Class Plaintiffs and each of the WARN Class members

  their respective wages, salary, commissions, bonuses, accrued holiday pay and accrued vacation

  for 60 days following their respective terminations, and upon information and belief, failed to

  make the pension and 401(k) contributions from and after the dates of their respective

  terminations.

         41.      The relief sought in this proceeding is equitable in nature.

                                         PRAYER FOR RELIEF

         WHEREFORE, Class Plaintiffs, individually and on behalf of all other similarly

  situated persons, pray for the following relief as against Defendants, jointly and severally:

         A. Certification of this action as a Class Action;

         B. Designation of Class Plaintiffs as the Class Representatives;

         C. Appointment of the undersigned attorneys as Class Counsel;

         D. A money judgment in favor of Plaintiffs and the putative Class members, equal to the

               sum of: their unpaid wages, salary, commissions, bonuses, accrued holiday pay,

               accrued vacation pay, pension and 401(k) contributions and other COBRA benefits,

               for 60 days, that would have been covered and paid under the then-applicable

               employee benefit plans had that coverage continued for that period, the WARN Act,

               29 U.S.C. and § 2104 (a)(1)(A), including any civil penalties, pursuant to the relevant

               state wage payment laws;


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        E. Reasonable attorneys’ fees and costs that Class Plaintiffs will incur in prosecuting this

           action, as authorized by the WARN Act and the Wage Act; and

        F. Such other and further relief as this Court may deem just and proper.


        DATED this 14th day of December, 2017.

                                               Respectfully Submitted,

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